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                           UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

J.R.,                                                     )
                                                          )
                Plaintiff,                                )       Case No. 19 CV 8145
                                                          )
         v.                                               )        Judge Dow
                                                          )
BOARD OF EDUCATION OF THE CITY OF                         )        Magistrate Judge Schenkier
CHICAGO, et al                                            )
                                                          )
                Defendants.                               )

                             FIRST AMENDED COMPLAINT AT LAW

         Plaintiff J.R., by and through their attorneys, DINIZULU LAW GROUP, LTD., complaining of

the Defendants, BOARD OF EDUCATION OF THE CITY OF CHICAGO, LEGAL PREP CHARTER

ACADEMIES, and JAMEL M. HELAIRE-JONES, states as follows:

                                         INTRODUCTION


1.       Plaintiff brings this matter to redress the sexual abuse and discrimination occurring by

Defendants Board of Education of the City of Chicago ("Board"), Legal Prep Charter Academies, and

Jamel M. Helaire-Jones ("Helaire-Jones")(collectively referred herein as "Defendants"). Plaintiff

brings this matter seeking damages for the various violations of the laws of the United States and

State of Illinois arising from Defendants' acts and omissions resulting in harm to J.R.


                                 JURISDICTION AND VENUE


2.       This case is brought under Title IX of the Educational Amendments of 1972, 20

U.S.C. § 1681, to redress the sex discrimination against Plaintiff (Count I); 42 U.S.C. § 1983 to redress

the deprivation under color of law of Plaintiffs rights as secured by the United States Constitution

(Counts II-IV), and various state law claims (Counts V-VI).

3.       This Court has jurisdiction of the action under 28 U.S.C. §§ 1331 and 1367. Venue is proper under

28 U.S.C. § 1391(b).
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4.       On information and belief, all or most of the parties reside in this judicial district, and the events

giving rise to the claims here all occurred within this district.

                                                PARTIES

5.       J.R., is a citizen of the Cook County and citizen of the State of Illinois and was a minor at the

time of the sexual assault alleged in this complaint.

6.       Defendant Board is a body politic and corporate under the laws of the State of Illinois.

Defendant Board maintains offices at 42 W. Madison Street, Chicago, Cook County, Illinois.

7.       Defendant Board is and was responsible for the governance, organizational, and financial

oversight of the staff and administration of Chicago Public Schools ("CPS"), the third largest school

district in the United States of America. Defendant Board, acting through its agents, servants, and/or

employees, is engaged in, among other things, the provision of education, care, and development

services. Defendant Board is responsible for its own acts or omissions and the conduct of its employees

and/or agents under respondeat superior.

8.       Defendant Legal Prep Charter Academies is a not-for-profit corporation under the

laws of the State of Illinois.

9.       Defendant Legal Prep Charter Academies owns and operates a charter school, Legal Prep Charter

Academy ("Legal Prep"), located at 4319 W. Washington Boulevard, Chicago, Illinois, which is a public

school funded, managed, and controlled by the Board. Defendant Legal Prep Charter Academies received

authority delegated to it by Defendant Board.

10.      Defendant Helaire-Jones is and/or was an employee of Defendants Board and Legal Prep Charter

Academies. At all times relevant herein, Defendant Helaire-Jones worked as a basketball coach at Legal

Prep Charter Academy in the City of Chicago, County of Cook, State of Illinois.

11.      At the time of the incident in this complaint, Defendant Helaire-Jones was engaged in the

complained of conduct while acting within the scope of his employment and under color of state law.

Defendant Helaire-Jones is sued in his individual capacity and as agent and/or employee of Defendants

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Board and Legal Prep Charter Academies.

                                  FACTS COMMON TO ALL COUNTS

12.    Attached and hereforth incorporated as a whole into the facts of this Complaint, are the following:

          a.      Legal Prep Charter Academy Staff Handbook, bate-stamped as LP 00001-51 – EX 1

                  (not filed as confidential).

          b.      Grant of Charter and Charter School Agreement, bates-stamped LP 0000052-000110–

                  EX 2 (not filed as confidential).

          c.      Renewal of Charter and Charter School Agreement between the Board of Education of

                  the City of Chicago and Legal Prep Charter Academies, Inc. , bate-stamped as BOE

                  0000039-103 – EX 3 (not filed as confidential).

          d.      Background Checks and Adjudication Process Agreement, bate-stamped as BOE

                  000104-000111 – EX 4 (not filed as confidential).

          e.      Employment File of Defendant Jamel M. Helaire-Jones, bate-stamped as BOE 000001-

                  35 – EX 5 (not filed as confidential)

          f.      Terms of Offer for Jamel Jones, bate-stamped as LP0000111 – EX 6 (not filed as

                  confidential)

          g.      Acknowledgements signed by Defendant Jamel M. Helaire-Jones, bate-stamped as

                  LP000112-115 – EX 7 (not filed as confidential)

          h.      Bylaws of Legal Prep Charter Academies, bate-stamped as LP000216-224– EX 8 (not

                  filed as confidential)

          i.      Investigation of Sexual Assault Allegations, bate-stamped BOE 000112-234 – EX 9

                  (not filed as confidential)


13.    For purpose of this complaint, “Staff” means “employees, agents, contractors, subcontractors, and

volunteers” as defined by the Renewal of Charter and Charter School Agreement between the Board of

Education of the City of Chicago and Legal Prep Charter Academies, Inc. , bate-stamped as BOE 0000051-
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52 (hereinafter, “Renewal of Charter”)

14.     The Board of Education is and was responsible for the governance, organizational, and oversight

of the staff and administration of Chicago Public Schools (“CPS”), the third largest school district in the

United States of America. Defendant Board, acting through its Staff, is engaged in, among other things, the

provision of education, care, and development services.

15.     Defendant Legal Prep Charter Academies is a public school funded, managed, and controlled by

the Board.

16.     On August 30, 2010, Legal Prep applied to operate as a charter school.

17.     On July 1, 2012, Defendant Legal Prep Charter Academies received authority delegated to it by

Defendant Board.

18.     At all relevant times herein, Legal Prep Charter Academy ("Legal Prep") located at 4319 W.

Washington Boulevard, Chicago, Illinois provided instructional programming for high­ school aged

students.

19.     At all relevant times herein, Defendant Board managed and or had sufficient control of Legal Prep

and the Staff therein.


20.     At all relevant times herein, Defendant Legal Prep Charter Academies owned, operated, managed,

maintained, and controlled Legal Prep and the Staff.


21.     At all relevant times herein, Defendant Helaire-Jones was Staff for the Board and Legal Prep

Charter Academies.

             a.     Defendant Helaire-Jones, was brought on as Staff at Legal Prep Charter Academies as

                    the girl's basketball coach starting on or before October 15, 2017 until January 7, 2018.

             b.     Defendant Helaire-Jones was then fulltime Staff as the Disciplinarian and girl's

                    basketball coach from January 8, 2018 to November 30, 2018.

22.     For Charter School's prospective and existing Staff who may have contact with students, the Board


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of Education is required to run background checks to prevent the contracting, hiring or continued

employment of persons with sexual assault backgrounds.

23.     From April 10, 1996 to November 13, 2017, Board of Education and Legal Prep were bound by

paragraph 5, subpart (e) of the Renewal of Charter and Charter School Agreement between the Board of

Education of the City of Chicago and Legal Prep Charter Academies, Inc. , bate-stamped as BOE 0000039-

103 – EX 3 (not filed as confidential), which required:

                 No later than September 1 and February 1 of each year during the term of this Agreement,
                 the Charter School shall provide the Board with a current list of all of its employees, and
                 shall cause each of its subcontractors to provide the Board with a current list of all of such
                 subcontractor's employees, who may come into contact with students at the Charter
                 School. Such lists shall. contain the names, job positions, Illinois employee identification
                 numbers ,and/ or last four digits of the social security numbers of all applicable employees.
                 Such lists shall also indicate: (i) for each employee, the results of the. fingerprint-based.
                 Criminal background checks required in Exhibit E (Criminal Background Checks) of this
                 Agreement; and (ii) for each individual employed in an instructional position, evidence of
                 certification, or evidence that such individual is otherwise qualified to leach under Section
                 27A-10(c) of the Charter Schools Law, including information regarding the additional
                 mentoring, training and staff development, if any, to be provided by the Charter School
                 pursuant to paragraph 5.g. of this Agreement. For any person hired in an instructional
                 position after February 1 of any academic year, the Charter School shall provide the Board
                 with. such results of the fingerprint-based criminal background checks and evidence of
                 certification (or other qualification if applicable) as noted hereinabove no later than five
                 (5} business days before the individual's initial date of employment.

24.     Beginning November 14, 2017, Board of Education and Legal Prep were bound by paragraph 5,

subpart (f) of the Renewal of Charter and Charter School Agreement between the Board of Education of

the City of Chicago and Legal Prep Charter Academies, Inc. , bate-stamped as BOE 0000039-103 – EX 3

(not filed as confidential).

25.     The Renewal of Charter and Charter School Agreement between the Board of Education of the

City of Chicago and Legal Prep Charter Academies, Inc. provides:

                 Board shall conduct a criminal history records check on all the Charter School's
                 prospective and existing employees, agents, contractors, subcontractors, and volunteers
                 who may have contact with students; (collectively, "Prospective or Current Staff"). The
                 criminal history records check shall be in accordance with the Illinois School Code (105
                 ILCS 5/34-18.5); the Sex Offender and Child Murderer Community Notification Law (730
                 ILCS 152/101 et seq.); and the Murderer and Violent Offender Against Youth Registration
                 Act (730 ILCS 154/1 et seq.). The Board also shall check for indicated reports of child
                 abuse or neglect in the State Automated Child Welfare Information System of the Illinois
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                Department of Children and Family Services ("DCFS") (or a substantially comparable
                determination of child abuse or neglect by a government agency in another jurisdiction). In
                addition, the Board shall perform a check of eligibility for re-hiring from the Board's Do
                Not Hire ("DNH") records. Collectively, the screenings described in this paragraph shall
                be referred to as "Background Checks". The Board shall subject the Background Checks to
                for adjudication process that the Board uses for its own prospective and current staff, and
                the Board shall share its results, to the extent permitted by law, with the Charter School.
                (EX 3 - BOE 00051-52)

26.     After the background check is completed, the Board may reject the applicant, require further

investigation, and/or accept the application:

        A. That the Board would reject a Prospective Staff member or terminate a Current Staff member
        who had been convicted of any enumerated offense set forth in the Illinois School Code. If the
        Prospective or Current Staff member has been convicted of an enumerated offense, the Charter
        School may not employ the Prospective or Current Staff member.

        B. That the Board would require additional information from a Prospective or Current Staff
        member who had a conviction of a non-enumerated offense or whose conviction status is
        unknown. The Board shall communicate with the Prospective or Current Staff member the need for
        additional information.

        C. After the Board considers the Prospective or Current Staff member's Background Checks, the
        Board shall inform the Charter School whether: (l) the Board would hire the Prospective Staff
        member or continue to employ the Current Staff member; (2) the Board would conditionally hire
        the Prospective Staff member may continue to employ the Current Staff member, pending a final
        adjudication; or (3) the Board would not hire the Prospective Staff member or would terminate the
        current Staff Member.

        D. If the Board's DNH check reveals a DNH, and the DNH is one of the bases for the Board's
        opinion that it would not hire the Prospective or Current Staff member, the Board shall provide the
        Charter School information concerning the basis for the DNH.

27.     Legal Prep was required to provide list of all its employees and contractors on September 1 of

every year to the Board of Education.

           a.      This list was required to provide:
                    “the date of initiation of the fingerprint-based criminal background investigation and
                   checks of the Statewide Sex Offender Database and the Statewide Child Murderer and
                   Violent Offender Against Youth Database required under Section 34-18.5 of the School
                   Code and paragraph 5(e) of this Agreement, and the results of such background check.”

           b.      If a background check had not been done, that person could not be hired or contracted

                   to work with the students:

                   “The Charter School shall not knowingly employ and shall not permit its subcontractors
                   to knowingly employ any individual who shall come into direct, regular contact with
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                     pupils at the Charter School (i) for whom a fingerprint-based criminal background
                     investigation and checks of the Statewide Sex Offender Database and the Statewide
                     Child Murderer and Violent Offender Against Youth Database has not been conducted
                     or (ii) who has been convicted of committing or attempting to commit one of the
                     offenses enumerated in Section 34-18.S(c) of the Illinois School Code.”

28.     The Renewal of Charter and Charter School Agreement between the Board of Education of the

City of Chicago and Legal Prep Charter Academies, Inc. provides the Board of Education has final

approval of staff:

                 Charter School Obligations. The Charter School shall obtain and provide the Board with a
                 signed copy of the Board-approved Release and Consent to Conduct and Disclose
                 Background Investigation and Personnel Information (“Release”) from each of its
                 Prospective and Current Staff members in the form provided by the Board. The Charter
                 School shall not allow any Prospective Staff to have contact with students (i.e., via test
                 messages, lives chats, emails, telephone, in person, or through any other means) until the
                 Charter School receives the results of the Prospective Staff member’s Background Checks
                 and the Board’s adjudication. The Board reserves the right to modify the form of the
                 Release from time to time.

29.     At all times, Defendant Board had and has absolute authority and responsibility to accept, reject,

suspend, discipline and terminate any Staff to be hired or that is hired at Legal Prep, including but not

limited to Defendant Helaire-Jones.

30.     According to the June 27, 2018 RESOLUTION REGARDING INSPECTOR GENERAL NICHOLAS

SCHULER:

        In addition to those duties conferred upon the Inspector General by the Illinois School Code and
        Board Rules, the Inspector General is hereby empowered to investigate reports of sexual
        misconduct by employees, vendors, or volunteers where a CPS student may be the victim. The
        Inspector General shall carry out these duties in accordance with the following guidelines:

                 (a) The Inspector General shall report to the Board on a monthly basis, including the
                 number of reports received, the number of claims under investigation, the employees and
                 schools involved, the nature of the allegations, and the status of any person subject of an
                 investigation;

                 (b) The Inspector General shall have sole responsibility within the Chicago Public Schools
                 and the Board of Education for the investigation of all reported incidents described in
                 Section 1 of this Resolution, however, the Inspector General shall reasonably and
                 appropriately cooperate with CPS staff and attorneys to ensure that employee discipline is
                 not delayed and that information regarding the status of abuse reports and investigations
                 are shared on a timely basis; and



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               (c) Decisions regarding discipline, including termination, shall remain solely under the
               purview the Chief Executive Officer of the Chicago Public Schools ("CEO") and the
               Board. The Board and the CEO, however, shall reasonably and appropriately cooperate
               with the OIG to ensure that criminal investigations are not unduly jeopardized by the
               timing of discipline or termination.

31.    Defendant Board and Legal Prep's top priority is to ensure students have a safe and welcoming

learning environment.

32.    Despite the Charter between the Board of Education and Legal Prep requiring background checks

of Charter School's prospective and existing Staff who may have contact with students, there was no

background check performed for Jamel Helaire-Jones until after he was already working at Legal Prep.

          a.      Defendant Helaire-Jones, was brought on as Staff at Legal Prep Charter Academies as

                  the girl's basketball coach starting on or before October 15, 2017 until January 7, 2018.

          b.      A background check was not run within five days of his start date of October 15, 2017.

          c.      The background check for Defendant Jamel Helaire-Jones was run on December 26,

                  2017.

          d.      Jamel Helaire-Jones became a full time employee at Legal Prep as a Disciplinarian in

                  January 8, 2018.

          e.      On February 15, 2018, the Board of Education determined that Jamel Helaire-Jones was

                  not eligible to be hired:

                   i.       Defendants were required to terminate Jamel Helaire-Jones contact with

                            students in the position as coach and disciplinarian.

                  ii.       Legal Prep had notice of the background check, and/or in the alternative, were

                            bound to not hire or allow any contact with students.

          f.      Jamel Helair-Jones continued to work with the students until November 28, 2018, when

                  he was sent home.

          g.      On November 30, 2018, Jamel Helair-Jones was terminated.

33.    At all times relevant, Defendants Board and Legal Prep Charter Academies provided Defendant

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Helaire-Jones with unlimited authority and access to the Legal Prep facilities.

34.     The background check for Defendant Jamel Helaire-Jones run on December 26, 2017, revealed:

            a.   Defendant Jamel Helaire-Jones had been arrested and/or charged with abduction

                 (kidnaping) and attempted sexual assault of an 18-year-old female in Battle Creek,

                 Michigan.

            b.   Defendant Jamel Helaire-Jones had domestic battery charges in 2010 and 2012.

            c.   In addition, Defendant Helaire-Jones was convicted of a robbery charge in Michigan in

                 2005. https://abc7chicago.com/coach-charged-sex-abuse-charter-school-assault-

                 student/5042454/#:~:text=Prosecutors%20said%20in%20court%20that,at%20a%20court%

                 20appearance%20Wednesday.

35.     At all relevant times herein, J.R. attended Legal Prep as a student.

36.     At all relevant times herein, J.R.’s date of birth was December 24, 2000.

37.     At all relevant times herein, Defendant Helaire-Jones was an adult in his early thirties and at least

fifteen years older than J.R.

38.     At all times relevant, Defendant Helaire-Jones initiated a sexual relationship with J.R., who was a

student and member of the girls' basketball team at Legal Prep Charter Academy as well as a minor without

the legal ability to consent to sex.

39.     At all times relevant, Defendant Helaire-Jones groomed and encouraged J.R. to engage in numerous

sexual acts with him on and off the property of Legal Prep, utilizing the authority provided by the

Defendants Board and Legal Prep.


40.     J.R. had been subjected to repeated advances that progressed over time from Defendant Helaire-

Jones, including but not limited to:

             a. Defendant Helaire-Jones would tell her that her hair looked pretty

             b. Defendant Helaire-Jones would text her “I like you” and to share “a dark secret” or

                 “something no one knows”
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            c. When discussing birthdays, J.R. asked Defendant Helaire-Jones what Defendant Helaire-

                 Jones wanted for his birthday, and he said “you”

            d. Defendant Helaire-Jones told J.R. that “he was going to keep things ‘discreet’ by telling

                 his girlfriend that J.R. was just a student ‘so [his girlfriend] wouldn’t trip about it’”

            e. Defendant Helaire-Jones told J.R. “I’m your daddy,” “I’m your best friend,” “I’m your

                 protection, and “I’m your lover”

            f.   Defendant Helaire-Jones told J.R. – “See right now I could be eating your pussy right

                 now”. JR believed the dean, who was walking by heard it, but he did not say anything.

            g. Defendant Helaire-Jones called her into the elevator on the way to or from the bathroom

                 and gave her demerit tickets for good behavior. Defendant Helaire-Jones said “you know I

                 like you” and “you’re pretty.” Defendant Helaire-Jones then “grabbed [her] booty” with

                 his hands, over her uniform.

            h. On two occasion, Defendant Helaire-Jones tried to grab her breasts.

            i.   Defendant Helaire-Jones hugged JR in the elevator, and then squeezed her breasts, and

                 made moaning sounds and was breathing heavy.

            j.   While in the parking lot, Defendant Helaire-Jones put his hand inside J.R. pants and

                 penetrated her with his fingers.

            k. Defendant Helaire-Jones kissed J.R. on more than once occasion.

            l.   Defendant Helaire-Jones asked J.R. to perform oral sex.

            m. Defendant Helaire-Jones texted J.R. a picture of his genitals.

            n. Defendant Helaire-Jones sexually assaulted J.R., age 17, and another student Z.R., age 14,

                 in the gymnasium.

41.     Defendant Helaire-Jones also sexually assaulted Z.R., on more than one occasion which is subject

to separate lawsuit, Chimika Walker, as Parent and Next Friend of Z.R., a Minor, v. Board of Education, et

al, Northern District Case 1:19-CV-04115:

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            a.     Defendant Helaire-Jones gave Z.R. a ride home from school, and went into an alley, and

                   “pulled out his penis” and had Z.R. performed oral sex on Jones.

            b.     Defendant Helaire-Jones kissed Z.R. in the bathroom, while Jones’ daughter was in the

                   another stall.

            c.     Defendant Helaire-Jones had Z.R. perform oral sex at a summer basketball camp.

            d.     Z.R. sent Defendant Helaire-Jones photos via text of her in her underwear.

            e.     Defendant Helaire-Jones told Z.R. “that when he has sex with his girlfriend, ‘she never

                   makes him cum.”

42.     At all times relevant and prior to the sexual conduct that occurred against J.R., Defendants knew of

the dangerous and harmful conduct of Defendant Helaire-Jones, but allowed him to continue to work with

students:

            a.   Defendant Helaire-Jones had a reputation for harassing and being sexually inappropriate

                 with multiple students – ie “there were rumors that Jones had sexual interactions with

                 students.”

            b.   Counselor Sotoudeh knew about the allegations against Defendant Helaire-Jones, but in her

                 own opinion found them unsubstantiated. According to the Officer of Inspector Genreal’s

                 Investigation.

                     i.       On November 8, 2018, Counselor Sotoudeh had students A.J., D.W, N.K.,

                              W.B, and Z.R. draft about the initial incident. Sotoudeh also typed a summary

                              of the statements and made a conclusion about whether the allegation was

                              substantiated.

                    ii.       Counselor Sotoudeh was told by student D.W:

                              She said that she feels like Mr. Jones is interested in her because he asks her
                              for hugs and asked her for her phone number. She said it made her feel
                              uncomfortable.

                   iii.       Z.R. wrote in her statement on November 8, 2018:

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                             During lunch period I came and told MS. S. that there was rumors Going
                             around saying that I was sending Mr. Jones nudes. Saying that me and him talk
                             when that’s not the case. Ms. Ashley pulled me out of the class and asked do I
                             talk to him I said no she asked me again and agains I said No if it was anything
                             I would tell you. She said that 5 girls (no names) came up to her and said you
                             need to talk to Z.R. and that they told her that I was talking to him and that I
                             was sending him nudes. So we get to Spanish class and Ms. Hayes asked me in
                             class so I talk to him I said no I said that’s A is the one that is going around
                             saying that because she seen a appreciation letter in my binder that wasn’t
                             anything inappropriate. But when I showed her the letter on Nov. 7. 18 it
                             looked like she got mad by it. Because she would always say that she like him
                             and how good he look and if they was to talk she would use him for his
                             money. Then at lunch on November 7, 2018 she though I was looking at him
                             and she was like why you looking ay my man. I didn’t say nothing. Then I
                             guess she told Ms. Ashley about me giving him a brownie that I didn’t want.
                             He ate it. that’s nothing inappropriate. That’s it. Ms. Ashley also said that she
                             didn’t fucking like him because they got into it so every since then they don’t
                             see eye to eye.

            c.   The Office of Inspector General’s Investigation found:

                             On November 9, 2018, Principal Ramirez sent an email to the CPS Title IX
                             Coordinator to report two situations involving Legal Prep HS staff members
                             and students. Ramirez reported that the first incident involved Legal Prep HS
                             student W B ( ). A non-student made a Facebook post on November 6, 2018
                             stating that Legal Prep HS deans are creepy. B then posted something to the
                             effect that Jones had not done anything yet, but he would if given the chance.
                             Jones was alerted to the post and approached B about it. B said she posted it as
                             a joke and wrote Jones an apology letter about the post. Administration was
                             alerted to the post on November 8, 2018.


       d.        On November 8, 2018, Defendants discovered that there were inappropriate texts between

                 Z.R. and Defendant Helaire-Jones. The Office of Inspector General’s Investigation found:

                             Ramirez also stated that students K and W spoke to a disciplinarian and told
                             her that fellow student Z was showing text messages between her and Jones
                             during Spanish class. Administration was informed about it on November 8,
                             2018. When Ramirez learned about the incidents, she approached school
                             counselor Lily Sotoudeh and asked her to pull the students and have them
                             write incident Reports. Ramirez and Legal Prep HS COO Rather Stanton then
                             began meeting with the involved disciplinarians.

43.    Defendants Board and Legal Prep’s Staff did not immediately report the allegations to DCFS until

November 27, 2018.

44.    The allegations against Defendant Helaire-Jones required immediate suspension pending a

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thorough investigation, but Defendant Helaire-Jones continued to work with students until November 28,

2018.

45.     On November 28, 2018, Defendant Helaire-Jones was sent home by Legal Prep Principal Katie-Jo

Ramierz on November 28, 2018 and advised not to return for the rest of the week.

46.     Legal Prep HS terminated Defendant Helaire-Jones employment as of November 30, 2018.

47.     On or about January 7, 2019, Defendant Helaire-Jones was arrested and charged with criminal

sexual assault of J.R.

48.     On February 26, 2019, Chicago Public School’s Mary Bradley, addressed the assault and concern

about the hire:

                  On November 14th, 2017, Legal Prep Charter Academies signed the Background Checks
                  and Adjudication Process Agreement with Chicago Public Schools. Under that agreement,
                  the Board undertook to do a background check on Mr. Jones. As you know, the check
                  revealed an arrest for sexual assault. As stated in Recital 4(b) of the agreement, the Board
                  sought additional information from Mr. Jones to get a clear understanding of the
                  disposition of that arrest. Mr. Jones failed to provide any additional information.

                  Pursuant to our agreement, on February 16, 2018, the Board sent to Legal Prep Charter
                  Academy Legal Prep) its Final Candidate/Current Employee Report on Mr. Jones which
                  advised you that Mr. Jones would not be eligible for hire by CPS because he failed to
                  submit requested documentation within the allotted time frame. The Board also provided
                  you the background report stating that Mr. Jones had a sexual assault case in the state of
                  Michigan. Despite this information, Legal Prep proceeded to hire Mr. Jones. Mr. Jones has
                  now been brought up on sexual assault charges involving three Legal Prep students.

49.     At all relevant times, J.R. was a minor and could not consent to the sexual advances of Defendant

Helaire-Jones, whether they were “welcome” or “unwelcome.”

50.     According to Legal Prep’s Staff Handbook, sexual harassment required immediate termination:

                   Employees should be aware that violation of any of the following employee standards of
                  conduct may result in disciplinary action, up to and including immediate termination of
                  employment:… Verbal, physical, or visual forms of harassment directed at any person
                  associated with Legal Prep, or discriminatory treatment of any person associated with Legal
                  Prep, where such discrimination or harassment is based on race, color, religion, national
                  origin, sex, age, disability, or any other protected status. This prohibition also covers any
                  form of sexual harassment, including unwelcome sexual advances, requests for sexual
                  favors, and other verbal, visual or physical conduct of a sexual nature.

51.     Legal Prep’s Staff Handbook provides a detailed description of the definition of Sexual

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Harassment: “

               a.   Sexual harassment is defined as unwelcome sexual advances, requests for sexual favors,

                    and other verbal, or physical conduct of a sexual nature.

               b.   A partial list of sexual harassment examples include:

                          i. Verbal:         Unwanted repeated sexual innuendos, sexual epithets, obscene or
                             sexually suggestive comments about a person’s body or dress, unwelcome
                             flirtations, unwanted sexual advances or propositions, threats

                         ii. Visual/Non-verbal      Demeaning or sexually explicit posters, cartoons,
                             photographs, magazines, drawings, or other printed items; suggestive objects or
                             pictures; suggestive or obscene letters, notes or invitations; emails, screen-savers
                             or other electronic communication; graphic commentaries; leering or obscene
                             gestures.

                         iii. Physical      Unwanted physical contact, including inappropriate touching,
                              impeding or blocking movements, interference with an individual’s normal work
                              movement or assault.

52.         Legal Prep’s Staff Handbook provides:

                      Violent acts or threats of violence made by an employee against another person's life,
                      health, well-being, family or property, are entirely unacceptable and cause for immediate
                      termination of employment. This policy applies to any threats made on campus property,
                      at campus events, or under other circumstances that may adversely affect Legal Prep.

53.         Sexual Harassment and assault of a minor is an act of violence.

54.         Once law enforcement learned of the above information, Defendant Helaire-Jones was arrested and

charged with criminal sexual assault of J.R. This criminal matter is currently pending in Cook County,

Illinois.

55.         On September 6, 2019, the Office of Inspector General found that the evidence in the matter

supports a finding of sexual misconduct of Defendant Helaire-Jones.

56.         As a result of Defendants’ actions, J.R. suffered injuries, including: pain and suffering, emotional

injury, and theft of a her dignity, well-being and self.

                     BOARD OF EDUCATION SEXUAL MISCONDUCT REPORT

57.         On August 16, 2018, Defendant Board, through its retained counsel, released its Preliminary Report


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entitled "Preventing and Responding to Sexual Misconduct against Student in Chicago Public Schools

(hereinafter "Report")." See generally Report attached and incorporated into the facts hereto as EX 10.

58.      According to the Report, between 2008 and 2017, the Chicago Police Department conducted 523

investigations that involved sexual assault or abuse of children within Chicago schools by fellow students

or adults. Id. at 9.

59.      The Report further revealed that former CPS employees were alleged to have been the perpetrators

in seventy-two (72) of 108 cases selected by the Chicago Tribune. Id.

60.      According to the Report, the Chicago Tribune also found systematic failures, including ineffective

background checks that caused adults to victimize CPS students. Id.

61.      According to the Report, the investigative team found "systematic deficiencies in CPS' efforts to

prevent and respond to incidents of sexual misconduct" occurring at all levels of the schools, the networks,

the Central Office, and the Board, and that, "[w]hile there were policies and procedures about sexual

misconduct on the books, employees were not consistently trained on them, and there were no mechanisms

to ensure that they were being uniformly implemented or to evaluate their effectiveness." Id. at 1.

62.      The Report documented numerous student-safety issues that Defendant Board employees must

address every year, including crime, drugs, school violence, abuse and neglect at home, mental health,

emergency medical conditions, accidents, and homelessness. Id. at 2.

63.      The Report went on to state that "[m]any of these threats are both more prevalent and visible than

sexual misconduct. For this reason, some employees and schools may have allocated more time and

resources toward these dangers, which caused them to give insufficient attention to sexual misconduct." Id

64.      Before the release of the Report on August 16, 2018, Defendant Board enacted a policy to run new

and current background checks on all CPS employees, vendors, and volunteers, and requiring periodic

background checks, including employees for Defendant Legal Prep Charter Academies. Id at 3.

65.      Given this updated background policy, Defendants Board and Legal Prep Charter Academies knew


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or should have known that Defendant Helaire-Jones possessed a criminal background that made him

unqualified to work in a school with students which included: an arrest for kidnapping and attempted sexual

assault, a domestic battery arrests in 2010 and 2012, and convicted of a robbery charge in Michigan in

2005. https://abc7chicago.com/coach-charged-sex-abuse-charter-school-assault-

student/5042454/#:~:text=Prosecutors%20said%20in%20court%20that,at%20a%20court%20appearance%

20Wednesday.

66.     Due to Defendant Board's and Defendant Legal Prep Charter Academies' deliberate indifference to

the safety of the students and to the enforcement of performing background screening on their employees,

Defendants Board and Legal Prep Charter Academies retained Defendant Helaire-Jones to work with

students, including J.R.

67.     Defendants Board and Legal Prep Charter Academies maintained a widespread practice and custom

of improper sexual contact between CPS employees and their students.


68.     Defendant Board's and Defendant Legal Prep Charter Academies' deliberate indifference to the

widespread practice and custom of improper sexual contact between CPS Employees and their students

created the plainly obviously consequence of abuse by Defendant Helaire-Jones upon J.R.

69.     Defendant Board's and Defendant Legal Prep Charter Academies' deliberate indifference to

CPS employees' improper sexual contact with students created a specific and identifiable threat to the

students working with Defendant Helaire-Jones.

70.     Defendant Board's and Defendant Legal Prep Charter Academies' deliberate indifference to

CPS employees' improper sexual contact with students effectively encouraged Defendant Helaire-

Jones to believe that he could engage in improper and unauthorized sexual contact with students

without fear of reprisal or discipline.

71.     Defendant Board's and Defendant Legal Prep Charter Academies' acted with deliberate

indifference and in a manner that shocks the conscience by permitting Defendant Helaire-Jones to


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work with students, including J.R.

72.     As a result of Defendant Board's and Defendant Legal Prep Charter Academies' conduct, J.R.

suffered harm.

                                   INSPECTOR GENERAL REPORTS

73.     The Office of Inspector General for the Chicago Board of Education is the independent oversight body

for Chicago’s public, contract, and charter schools.

74.     The Office's Sexual Allegations Unit investigates allegations of sexual misconduct by a CPS-

affiliated adult, including employees, contractors, vendors and charter schools, where the victim is a CPS

student and/or a minor.

75.     Attached and hereforth incorporated as a whole into the facts of this Complaint, are the following:

           a.       Inspector General Report from 2017, attached as EX 11.

           b.       Significant Activity Report of October 24, 2017, attached as Ex 12

           c.       Inspector General Letter - Re: OIG Should Investigate Allegations of CPS Sex Crimes,

                    of June 5, 2018 – EX 13

           d.       Inspector General Report from 2018, attached as EX 14

           e.       April 2019 Presentation to the Board of Education of the City of Chicago, OIG

                    Investigations of Sexual Allegations, attached as EX 15

           f.       July 2019 Presentation to the Board of Education of the City of Chicago, OIG

                    Investigations of Sexual Allegations, attached as EX 16.

           g.       Inspector General Report from 2019, attached as EX 17.

76.     According to the 2017 Inspector General Report, a review conducted by the Office of Inspector

General for the Chicago Public Schools discovered that 163 former CPS employees with permanent “Do

Not Hire” (DNH) designations in their CPS files were working at CPS charter and contract schools.

77.     According to the 2017 Inspector General Report, three employees found working at charter or

contract schools during the 2016–17 school year were designated as DNHs by CPS for sexual abuse.
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            a.    One of those employees was a former CPS elementary school teacher who was fired and

                  classified as a DNH for sexually abusing two of his students at his home and

                  inappropriately touching a third student during class. The OIG discovered that he was

                  working at a charter school as a teacher in Chicago during the 2016–17 school year.

            b.    The second employee who was classified as a DNH for sexual abuse was fired by CPS

                  after it was discovered that he had a sexual relationship with a 17-year-old student.

                  During the 2016–17 school year, that former CPS employee was working in a charter

                  school as a teacher. The charter and board already was aware that the employee had been

                  arrested for criminal sexual assault because that was discovered during the criminal

                  background check conducted when he was hired.

            c.    The third employee with a DNH designation because of sexual abuse resigned from CPS

                  following allegations that he hugged a student and made explicit sexual advances

                  towards the student. During the 2016–17 school year, that former employee was working

                  in a classroom setting at a charter school. In the Board’s response, it advised the OIG

                  that CPS contacted the charter and learned that the employee had been released by the

                  school in 2016.

78.    According to the 2017 Inspector General Report, 22 former CPS employees who were designated

as DNHs due to improper corporal punishment or physical abuse of students were working in charter or

contract schools during the 2016–17 school year.

79.    According to the 2017 Inspector General Report, Defendant Board advised the OIG it is working to

establish a broader method by which charter and contract schools will be able to receive DNH information

from CPS.

80.    According to the October 24, 2017 Significant Activity Report:

            a.    Former CPS employees with DNHs were found working for 33 different charter or
                  contract operators. Four of those operators employed 11 to 27 individuals with DNHs,
                  11 of the operators employed 4 to 8 of those individuals, and 18 employed 1 to 3.
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            b.    Five percent of all CPS employees who received DNH designations in the last five years
                  were found to be working in charter or contract schools.

            c.    The charter and contract schools apparently did not know that they were hiring
                  employees who had been given DNH designations by CPS, because there was no system
                  in place by which charter or contract schools could learn whether their employees or
                  prospective employees had received those designations.

81.     Allowing DNH designated Staff related to sexual assault and sexual abuse posed a threat to

students.

82.     According to Inspector General Letter - Re: OIG Should Investigate Allegations of CPS Sex

Crimes, of June 5, 2018, CPS needs an independent team to investigate CPS sexual abuse allegations.

83.     According to Inspector General Letter - Re: OIG Should Investigate Allegations of CPS Sex

Crimes, of June 5, 2018, the Inspector General recommended that the Chicago Board of Education adopt

the New York City practice cited in the Tribune, in which that school district's inspector general - rather

than its law department - conducts sex crime investigations, to eliminate the inherent conflict-of-interest

problems posed under the current CPS system.

84.     According to Inspector General Letter - Re: OIG Should Investigate Allegations of CPS Sex

Crimes, of June 5, 2018, the Tribune report is rife with instances of CPS's competing interests and lack of

follow-through in sex abuse cases - situations that would be eliminated by the OIG assuming investigative

responsibility for such cases. Examples included the following:

            a.    At one high school, the CPS law department both investigated a sexual assault allegation
                  against a coach and then drew on those investigative files to defend the district against a
                  civil suit by the coach's victim.

            b.    If the OIG had the responsibility for investigating sex crimes at CPS, it may well have
                  recommended disciplinary action against the elementary magnet school principal who
                  grilled a sex victim's mother instead of, apparently, calling the police. Indeed, any CPS
                  school administrators who muddy the integrity of OIG or law enforcement sex
                  investigations by trying to conduct their own probes likely would be recommended for
                  discipline by the OIG.

            c.    The Tribune found no evidence that CPS employees who kept quiet about sex abuse
                  allegations were ever criminally charged. If sex crime allegations were reported to and
                  investigated by the OIG, the office would recommend action against employees who
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                   ignored their duties as mandated reporters.

           d.      The Tribune found that the CPS law department sometimes "cuts confidential deals with
                   problem educators to get them to resign." Making the OIG the primary investigator of
                   sex crime allegations at CPS would ensure that, at a minimum, the OIG would
                   sensitively - but publicly - report on such cases as appropriate.

85.     The 2018 Inspector General Report also reported another incident where a background check

should have precluded a Staff hire:

        An investigation determined that a teacher at an elementary school had a history of sexual overtures
        and improper fondling with at least one minor, and possibly more. The OIG initiated this case after
        one of the teacher’s former students submitted a complaint to the OIG alleging that he was
        victimized by the teacher approximately 30 years ago, when the teacher worked for another school
        district. The former student reported to the OIG that, when he was 13 years old, the teacher
        improperly touched him in the groin area while they were in a classroom. He also informed the OIG
        that, years later, the teacher was prosecuted for criminal sexual abuse of a different minor.

        The OIG subsequently found that in 2000, before the teacher worked for CPS, he was arrested for
        indecent solicitation of a child, who was not a CPS student. At that time, he worked for another
        school district. He was arrested after law enforcement discovered that he had an improper
        relationship with a 16-year-old boy whom he met in an internet chat room. According to police
        reports, the teacher and boy had discussed sexual subject matter over email and, on at least one
        occasion, had met at the mall and in the teacher’s car, which, at the very least, involved the teacher
        rubbing the boy’s arm, leg and ear. The teacher was arrested when he arrived for a subsequent
        planned meeting with the boy.

        In 2000, the teacher was charged with two Class 3 felonies: (1) indecent solicitation of a child, 720
        5/11-6(a)(2), and (2) aggravated criminal sexual abuse involving a victim between 13 and 16 years
        of age, 720 ILCS 5/12-16(d). However, he pleaded guilty to, and was only convicted of, Class A
        misdemeanor battery, 720 ILCS 5/12- 3(a)(2). He was sentenced to 24 months of probation and 100
        hours of public service work and was ordered to pay $2,027 in fines and costs. He was also ordered
        to have no contact with the victim and to complete counseling. He forfeited his computer that was
        seized by police, and he was ordered not to use the internet, unless such use related to his
        employment. He was not ordered to register as a sex offender.

        The OIG further found that in 2003, shortly after his period of probation concluded, he was hired
        by CPS as an elementary school teacher. He disclosed his conviction for misdemeanor battery —
        which is not an enumerated offense — on his CPS application and underwent a criminal
        background check, but the background check did not reveal any criminal convictions, not even the
        conviction that he disclosed.

        As part of this investigation, the OIG interviewed the teacher, who confirmed much of the
        information in the police reports about his arrest and his improper involvement with the boy. He
        acknowledged that, when he was arrested after Office of Inspector General Chicago Board of
        Education 2018 Annual Report – 46 – arriving for one of his planned meetings with the boy, he was
        anticipating the possibility that he and the boy might engage in a sex act.

        During this investigation, the OIG informed the CPS Law Department of the nature of this case and
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        the evidence obtained, and CPS immediately placed the teacher on a paid leave of absence. After
        the OIG concluded its investigation and reported this case to the Board, the Board notified ISBE of
        this matter, and the teacher resigned and voluntarily surrendered his teaching license. His license is
        now treated by ISBE as revoked. The Board also placed a Do Not Hire (DNH) designation in the
        teacher’s personnel file


86.     Charter Schools like Legal Prep were underreporting incidents of sexual abuse and inappropriate

conduct, which were defined by April 2019 Presentation to the Board of Education of the City of Chicago,

OIG Investigations of Sexual Allegations to include penetration, groping, fondling, unambiguously sexual

comments to student, sexual text messages or emails, touching of a possible (not obvious) sexual nature,

and “creepy” behavior.

87.     According to April 2019 Presentation to the Board of Education of the City of Chicago, OIG

Investigations of Sexual Allegations:

           a.      “charter reporting rates are 3.41 times lower per 100,000 students than district reporting

                   rates, and if charters reported at the district rate, we would have 51 charter cases rather

                   than 15.”

           b.      “This suggests that incidents at charter schools may be underreported.”

           c.      “Under-reporting would prevent students from receiving needed supports and either

                   prevent an independent, professional investigation from taking place or prevent

                   investigation entirely.”

           d.      “OSP is expanding their training this spring to include charters, which will hopefully

                   increase awareness and compliance.”

88.     According to the July 2019 Presentation to the Board of Education of the City of Chicago, OIG

Investigations of Sexual Allegations, there was 96 total sexual allegations case reported from October

through November 2018.

89.     The July 2019 Presentation to the Board of Education of the City of Chicago, OIG Investigations of

Sexual Allegations provided “that as of the OG’s last public presentation in April 2019, there were only 15

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cases involving charter schools. That number has doubled to 31 in the last 3 months.”

90.     According to the 2019 Inspector General Report, on June 27, 2018, passed a resolution (18-0627-

RS4) granting the OIG specific authority to investigate sexual abuse allegations.

           a.      In that resolution, the Board committed to dedicating the resources necessary for the

                   OIG to assemble a team devoted to investigating sexual misconduct.

           b.      The OIG began forming the Sexual Allegations Unit, and that unit commenced

                   operations on October 1, 2018, with a commitment to investigating every case involving

                   allegations that could be construed as sexual or potentially sexual.

           c.      The OIG SAU has a very high volume of cases, opening nearly 500 investigations

                   during Fiscal Year 2019.

                                       ILLINOIS SCHOOL CODE

91.     The Illinois School Code, 105 ILCS 5/22-85, provides:

                The General Assembly finds that:
                (1) investigation of a child regarding an incident of sexual abuse can induce significant
                trauma for the child;
                (2) it is desirable to prevent multiple interviews of a child at a school; and
                (3) it is important to recognize the role of Children’s Advocacy Centers in conducting
                developmentally                             appropriate                        investigations.

92.     Under the Illinois School Code: “Alleged incident of sexual abuse” is limited to an incident of

sexual abuse of a child that is alleged to have been perpetrated by school personnel, including a school

vendor or volunteer, that occurred (i) on school grounds or during a school activity or (ii) outside of school

grounds or not during a school activity. 105 ILCS 5/22-85

93.     Defendants and its Staff are mandatory reporters under the Illinois School Code, which requires:

        If a mandated reporter within a school has knowledge of an alleged incident of sexual abuse, the
        reporter must call the Department of Children and Family Services’ hotline established under
        Section 7.6 of the Abused and Neglected Child Reporting Act [325 ILCS 5/7.6] immediately after
        obtaining the minimal information necessary to make a report, including the names of the affected
        parties and the allegations. The State Board of Education must make available materials detailing
        the information that is necessary to enable notification to the Department of Children and Family
        Services of an alleged incident of sexual abuse. Each school must ensure that mandated reporters
        review the State Board of Education’s materials and materials developed by the Department of
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        Children and Family Services and distributed in the school building under Section 7 of the Abused
        and Neglected Child Reporting Act [325 ILCS 5/7] at least once annually. 105 ILCS 5/22-85

94.     Defendants and their staff may not interview the students on the alleged sexual misconduct, and

must cooperate in the investigation:

        After an alleged incident of sexual abuse is accepted for investigation by the Department of
        Children and Family Services or a law enforcement agency and while the criminal and child abuse
        investigations related to that alleged incident are being conducted by the local multidisciplinary
        team, the school relevant to the alleged incident of sexual abuse must comply with both of the
        following:

                (1) It may not interview the alleged victim regarding details of the alleged incident of
                sexual abuse until after the completion of the forensic interview of that victim is conducted
                at a Children’s Advocacy Center. This paragraph does not prohibit a school from
                requesting information from the alleged victim or his or her parent or guardian to ensure
                the safety and well-being of the alleged victim at school during an investigation.

                (2) If asked by a law enforcement agency or an investigator of the Department of Children
                and Family Services who is conducting the investigation, it must inform those individuals
                of any evidence the school has gathered pertaining to an alleged incident of sexual abuse,
                as permissible by federal or State law. 105 ILCS 5/22-85


95.     Defendant Board of Education and Legal Prep must comply with 105 ILCS 5/34-18.61, in review

on all existing policies and procedures concerning sexual abuse investigations: “Every 2 years, the school

district must review all existing policies and procedures concerning sexual abuse investigations at schools

to ensure consistency with Section 22-85 [105 ILCS 5/22-85].”

                               COUNT I
TITLE IX OF THE EDUCATION AMENDMENTS OF 1972 BOARD OF EDUCATION OF
THE CITY OF CHICAGO ("BOARD") AND LEGAL PREP CHARTER ACADEMIES

96.     Plaintiff re-alleges and incorporates the allegations contained in paragraphs 1-95 herein.

97.     Title IX of the Education Amendments of 1972 ("Title IX") states that:

                No person in the United States shall, on the basis of sex, be excluded from
                participation, in be denied the benefits of, or be subjected to discrimination under
                any education program or activity receiving Federal financial assistance. 20 U.S.C. §
                1681, et seq.

98.     Plaintiff J.R. belongs to a protected group under Title IX.

99.     Defendants Board and Legal Prep Charter Academies provide educational institutions with
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programs and activities and are recipients of federal funds for educational programs and activities as

defined under Title IX.

100.    As described more fully above, J.R. was subjected to discrimination and harassment by

Defendant Helaire-Jones where Defendant Helaire-Jones forced J.R. to engage in various sexual acts.

101.    The discrimination and harassment suffered by J.R. was based on sex as described above.

102.    Defendants Board and Legal Prep Charter Academies knowingly permitted J.R. to be

discriminated against and harassed based on membership in a certain class of individuals.

103.    Defendants Board and Legal Prep Charter Academies treated J.R. differently than other similarly

situated individuals not belonging to the class of J.R.

104.    The discrimination and harassment in the form of repeated acts of sexual penetration and sexual

contact were so severe and pervasive that it altered the conditions of J.R.'s education.

105.    Defendants Board and Legal Prep Charter Academies had actual direct notice of Defendant

Helaire-Jones's improper sexual misconduct, as alleged in paragraphs 12-95,:

              a.   Board running a background check on December 26, 2017.

              b.   Legal Prep had notice of the background check, and/or in the alternative, were bound

                   to not hire or allow any contact with students.

              c.   The Board and Legal Prep were aware of the reputation of Defendant Jamel Helaire-

                   Jones and his inappropriate sexual conduct with students.

              d.   Students reported Defendant Jamel Helaire-Jones inappropriate sexual conduct with

                   students to the Board and Legal Prep’s Staff.

106.     Defendants were deliberately indifferent to his misconduct, as alleged in paragraphs 12-95,

above, for:

              a.   Allowing Defendant Jamel Helaire-Jones contact with students both prior to and after

                   the background check.

              b.   Allowing Defendant Jamel Helaire-Jones contact with students after allegations of
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                    misconduct were reported.

            c.      Not immediately reporting the allegations of sexual misconduct to DCFS, the police

                    and the Inspector General.

            d.      Failing to appropriately train and implement policies to protect students from sexual

                    misconduct by persons in authority.

107.     Defendant Board and Defendant Legal Prep Charter Academies, including their district, network,

and school administrators, had knowledge of Defendant Helaire-Jones's misconduct and possessed the

authority to institute corrective measures; however, Defendants failed to take corrective measures to stop

harm against J.R.


108.     As a direct and proximate result of the conduct of Defendant Board and Defendant Legal Prep

Charter Academies, Plaintiff J.R. suffered harm.

       WHEREFORE, Plaintiff respectfully requests:

            a.      Compensatory and punitive damages in an amount to be determined at trial;

            b.      An award of reasonable attorneys' fees, costs, and litigation expenses; and

            c.      Such other relief as the Court may deem just or equitable.

                                    COUNT II
 42 U.S.C. § 1983 – DUE PROCESS VIOLATION - DELIBERATE INDIFFERENCE OF THE
 BOARD OF EDUCATION OF THE CITY OF CHICAGO ("BOARD") AND LEGAL PREP
                              CHARTER ACADEMIES

109.     Plaintiff re-alleges and incorporates each of the paragraphs of this Complaint contained in

paragraphs 1-95 as if restated herein.

110.     Under the Fourteenth Amendment to the U.S. Constitution, Plaintiff J.R. possesses a right to

bodily integrity.

111.     Defendant Legal Prep Charter Academies acted under color of law insofar as it engaged in conduct

that is fairly attributable to the state because Defendant Legal Prep Charter Academies was jointly engaged

with or controlled by Defendant Board and was delegated a public function in providing public education

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in Chicago, Illinois.

112.    Defendant Legal Prep is governed by Chicago Public Schools and a independent Board of

Directors. http://www.legalprep.org/supporting-boards.html

113.    The Chicago Board of Education, founded in 1840, is responsible for the governance,

organizational and financial oversight of Chicago Public Schools (CPS) including its charter schools.

114.    The Chicago Board of Education establishes policies, standards, goals and initiatives at its Charter

Schools to ensure accountability and provide a high quality, world-class education for the 21st century that

prepares our students for success in college, work and life.

115.    Legal Prep Charter Academies, Inc., is established under the Charter Schools Law, 105 ILCS 5/27

A-l et seq., as amended (the ''Charter Schools Law" effective since 4/10/1996), which provides:

                a.       A charter school "shall be organized and operated as a nonprofit corporation or

                         other discrete, legal, nonprofit entity authorized under the laws of the State of

                         Illinois." 105 ILL. COMP. STAT. 5/27A-5(a).

                b.       The governing body of a charter school is subject to the same disclosure

                         requirements applicable to other government entities in Illinois. See 105 ILL.

                         COMP. STAT. 5/27A-5(c).

116.    Defendant Board of Education of the City of Chicago in 2017 and 2018 oversaw and operated

Defendant Legal Prep, including but not limited to requiring Legal Prep to provide evidence to the Board,

to ensure:

                a.       Compliance with all Federal and State laws and constitutional provisions

                         prohibiting discrimination on the basis of disability, race, creed, color, gender,

                         national origin, religion, ancestry, marital status or need for special educational

                         services pursuant to 105 ILCS 5/27 A-4(a);

                b.       Compliance with the Freedom of Information Act and Open Meetings Ad pursuant

                         to 105 ILCS 5/27A-5(c);

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                c.      Compliance with all applicable health and safety requirements applicable to public

                        schools under the laws of the State of Illinois pursuant to 105 ILCS 5/27 A-5( d);

                d.      Compliance with all Federal and State laws and rules applicable to public schools

                        that pertain to special education and the instruction of English language learners

                        pursuant to 105 ILCS 5/27 A-5(g);

                e.      Compliance with all enumerated State laws and regulations applicable to Charter

                        Schools in accordance with 105 ILCS 5/27 A-S(g);

117.    Legal Prep’s status as a state actor is also evidenced by the fact that Defendant Board of Education

of the City of Chicago also made payments to City Pension Fund for Legal Prep’s Staff as follows:

                The Board shall make payments directly to the Public School Teachers' Pension and
                Retirement Fund of Chicago ("Chicago Teachers Pension Fund") for the employer's
                pension liability on behalf of any education, administrative or other staff member
                employed at the Charter School (whether by the Charter School itself or one of its
                subcontractors) who is certified under the law governing certification of teachers.

118.    Defendants Board and Legal Prep Charter Academies maintained a widespread practice that is so

permanent and well settled as to constitute a custom or usage with the force of law where:

                a.      Defendants permitted their employees, such as Defendant Helaire-Jones, to work

                        with students without conducting adequate background checks.

                b.      Defendants failed to train and require their Staff to perform and/or evaluate

                        background checks in order to disqualify Defendant Helaire-Jones from

                        employment with Defendants Board and Legal Prep Charter Academies.

119.    Due to Defendant Board's and Defendant Legal Prep Charter Academies' deliberate

indifference to the safety of the students and to the enforcement of performing background screening

on their employees, Defendants Board and Legal Prep Charter Academies, retained Defendant

Helaire-Jones to work with students, including J.R.

120.    Defendant Board's and Defendant Legal Prep Charter Academies' deliberate indifference to

the widespread practice and custom of improper and inadequate background checks and enforcement
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of these background checks created the plainly obviously consequence of abuse by Defendant

Helaire-Jones upon J.R.

121.    Defendant Board's and Defendant Legal Prep Charter Academies' deliberate indifference to

the widespread practice and custom of improper sexual contact and harassment between CPS

employees and their students created the plainly obviously consequence of abuse and harrassment by

Defendant Helaire-Jones upon J.R.

122.    Based on Defendant Board's and Defendant Legal Prep Charter Academies' widespread

practices and customs, Defendants Board and Legal Prep Charter Academies denied J.R. due process

right to bodily integrity under the law as protected by the Fourteenth Amendment to the U.S. Constitution.

123.    Defendant Board's and Defendant Legal Prep Charter Academies' widespread practices and

customs unlawfully denied J.R. due process of law in a manner that shocks the conscience.

        WHEREFORE, Plaintiff respectfully requests:

           a.       Compensatory and punitive damages in an amount to be determined at trial;

           b.       An award of reasonable attorneys' fees, costs, and litigation expenses; and

           c.       Such other relief as the Court may deem just or equitable.

                                   COUNT III
 42 U.S.C. § 1983 - DUE PROCESS VIOLATION - "STATE CREATED DANGER" BOARD
     OF EDUCATION OF THE CITY OF CHICAGO ("BOARD") AND LEGAL PREP
                              CHARTER ACADEMIES

124.    Plaintiff re-alleges and incorporates each of the paragraphs of this Complaint contained in

paragraphs 1-95 as if restated herein.

125.    Under the Fourteenth Amendment to the U.S. Constitution, Plaintiff J.R. possesses a right to

bodily integrity.

126.    Defendant Legal Prep Charter Academies acted under color of law insofar as it engaged in conduct

that is attributable to the state because Defendant Legal Prep Charter Academies was jointly engaged with

or controlled by Defendant Board and was delegated a public function in providing public education in

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Chicago, Illinois.

            a. At all times, Defendant Board had and has absolute authority and responsibility to accept,

                reject, suspend, discipline and terminate any Staff to be hired or that is hired at Legal Prep,

                including but not limited to Defendant Helaire-Jones.

            b. Between October 15, 2017 and November 13, 2017, Defendant Board received notice,

                pursuant to paragraph 5, subpart (e) of the Renewal of Charter and Charter School

                Agreement between the Board of Education of the City of Chicago and Legal Prep Charter

                Academies, Inc. , bate-stamped as BOE 0000039-103 – EX 3 (not filed as confidential),

                that Defendant Helaire-Jones was on Staff at Legal Prep and had a duty to remove him,

                knowing that he was ineligible to work with students

            c. Beginning November 14, 2017, Defendant Board received notice, pursuant to paragraph 5,

                subpart (f) of the Renewal of Charter and Charter School Agreement between the Board of

                Education of the City of Chicago and Legal Prep Charter Academies, Inc. , bate-stamped

                as BOE 0000039-103 – EX 3 (not filed as confidential), that Defendant Helaire-Jones was

                hired and/or on Staff at Legal Prep and had a duty to remove him, knowing that he was

                ineligible to work with students,

127.    Defendant Legal Prep is governed by Chicago Public Schools and an independent Board of

Directors. http://www.legalprep.org/supporting-boards.html

128.    The Chicago Board of Education, founded in 1840, is responsible for the governance,

organizational and financial oversight of Chicago Public Schools (CPS) including its charter schools.

129.    The Chicago Board of Education establishes policies, standards, goals and initiatives at its Charter

Schools to ensure accountability and provide a high quality, world-class education for the 21st century that

prepares our students for success in college, work and life.

130.    Legal Prep Charter Academies, Inc., is established under the Charter Schools Law, 105 ILCS 5/27

A-l et seq., as amended (the ''Charter Schools Law" effective since 4/10/1996), which provides:

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                a.      A charter school "shall be organized and operated as a nonprofit corporation or

                        other discrete, legal, nonprofit entity authorized under the laws of the State of

                        Illinois." 105 ILL. COMP. STAT. 5/27A-5(a).

                b.      The governing body of a charter school is subject to the same disclosure

                        requirements applicable to other government entities in Illinois. See 105 ILL.

                        COMP. STAT. 5/27A-5(c).

131.    Defendant Board of Education of the City of Chicago in 2017 and 2018 oversaw and operated

Defendant Legal Prep, including but not limited to requiring Legal Prep to provide evidence to the Board,

to ensure:

                a.      Compliance with all Federal and State laws and constitutional provisions

                        prohibiting discrimination on the basis of disability, race, creed, color, gender,

                        national origin, religion, ancestry, marital status or need for special educational

                        services pursuant to 105 ILCS 5/27 A-4(a);

                b.      Compliance with the Freedom of Information Act and Open Meetings Ad pursuant

                        to 105 ILCS 5/27A-5(c);

                c.      Compliance with all applicable health and safety requirements applicable to public

                        schools under the laws of the State of Illinois pursuant to 105 ILCS 5/27 A-5( d);

                d.      Compliance with all Federal and State laws and rules applicable to public schools

                        that pertain to special education and the instruction of English language learners

                        pursuant to 105 ILCS 5/27 A-5(g);

                e.      Compliance with all enumerated State laws and regulations applicable to Charter

                        Schools in accordance with 105 ILCS 5/27 A-S(g);

132.    Legal Prep’s status as a state actor is also evidenced by the fact that Defendant Board of Education

of the City of Chicago also made payments to City Pension Fund for Legal Prep’s Staff as follows:

                The Board shall make payments directly to the Public School Teachers' Pension and

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                Retirement Fund of Chicago ("Chicago Teachers Pension Fund") for the employer's
                pension liability on behalf of any education, administrative or other staff member
                employed at the Charter School (whether by the Charter School itself or one of its
                subcontractors) who is certified under the law governing certification of teachers.

132.    Defendants Board and Legal Prep Charter Academies maintained a widespread practice that is so

permanent    and   well    settled   as   to   constitute   a   custom   or   usage   with   the   force   of

law where these Defendants permitted their employees, such as Defendant Helaire-Jones, to work with

students without conducting background checks.

133.    Due to Defendant Board's and Defendant Legal Prep Charter Academies' deliberate indifference to

the safety of the students and to the enforcement of performing background screening on their employees,

Defendants Board and Legal Prep Charter Academies retained Defendant Helaire-Jones to work with

students, including J.R.

134.    Defendants Board and Legal Prep Charter Academies maintained a widespread practice and

custom of improper sexual contact between Staff and their students.

135.    Defendant Board's and Defendant Legal Prep Charter Academies' deliberate indifference to the

widespread practice and custom of improper sexual contact between CPS employees and their students

created the plainly obviously consequence of abuse by Defendant Helaire-Jones upon J.R.

136.    Defendant Board's and Defendant Legal Prep Charter Academies' deliberate indifference to its’

Staff’s improper sexual contact with students created a specific and identifiable threat to the students

working with Defendant Helaire-Jones.

137.    Defendant Board's and Defendant Legal Prep Charter Academies' deliberate indifference to its’

Staff improper sexual contact with students created a heightened danger because Defendants Board and

Legal Prep Charter Academies effectively encouraged Defendant Helaire-Jones to believe that he could

engage in improper and unauthorized sexual contact with students without fear of reprisal or discipline.

138.    Defendant Board's and Defendant Legal Prep Charter Academies' acted with deliberate

indifference implied to Defendant Helaire-Jones that his actions were permissible, and thus, the acts of

Defendants Board and Legal Prep Charter Academies affirmatively increased the risk of danger to the
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students at Legal Prep, including J.R.

            a. By informing Defendant Helaire-Jones of the allegations made against him and allowing

                 him to approach the student about those allegations and to intimidate that student.

            b. By conducting an investigation of the sexual misconduct of Defendant Helaire-Jones, and

                 finding the allegations unsubstantiated on November 8, 2018.

            c. By making the decision not to report the allegations of sexual misconduct of Defendant

                 Helaire-Jones appropriately.

            d. By permitting Prospective Staff Defendant Helaire-Jones to have contact with students

                 (i.e., via text messages, lives chats, emails, telephone, in person, or through any other

                 means) prior to Legal Prep receiving the results of the Defendant Helaire-Jones’s

                 Background Checks and the Board’s adjudication.

            e. By failing to timely conduct a background check of Defendant Helaire-Jones, including

                 looking into the prior arrests and convictions.

            f.   By continuing to allow Defendant Helaire-Jones to have contact with students (i.e., via

                 text messages, lives chats, emails, telephone, in person, or through any other means) after

                 the Board received the background check on December 25, 2017, and determined that he

                 was not eligible for hire by CPS on February 15, 2018.

            g. By not appropriately training Staff on reporting of sexual misconduct allegations.

139.    Through their actions, Defendants Board and Legal Prep Charter Academies placed J.R. in a

heightened danger that she would not have otherwise faced.

140.    Defendant Board's and Defendant Legal Prep Charter Academies' repeated and sustained acts of

permitting improper sexual abuse between employees and students constituted prior assurances rising to

the level of an affirmative condoning of sexual abuse by Defendant Helaire-Jones.

141.    At all relevant times herein, J.R. was a foreseeable victim and a member of a discrete class of

persons that was exposed to the actions of Defendant Helaire-Jones.

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142.    Defendants Board and Legal Prep Charter Academies effectively encouraged Defendant Helaire-

Jones that he will not be arrested, punished, or otherwise interfered with while engaging in misconduct that

is likely to endanger the lives of the students at Legal Prep, including J.R.

143.    Defendant Board's and Defendant Legal Prep Charter Academies' conduct unlawfully denied J.R.

due process of law in a manner that shocks the conscience.


        WHEREFORE, Plaintiff respectfully requests:
          a.        Compensatory and punitive damages in an amount to be determined at trial;
          b.        An award of reasonable attorneys' fees, costs, and litigation expenses; and
          c.        Such other relief as the Court may deem just or equitable.

                                        COUNT IV
          42 U.S.C. § 1983 - DUE PROCESS VIOLATION JAMEL M. HELAIRE-JONES

144.    Plaintiff re-alleges and incorporates each of the paragraphs of this Complaint contained in

paragraphs 1-95 as if restated herein.

145.    Under the Fourteenth Amendment to the U.S. Constitution, Plaintiff J.R. possesses a right to

bodily integrity.

146.    Defendant Helaire-Jones's unauthorized and non-consensual sexual contact with J.R. and his

improper sexual abuse and assault with J.R. denied J.R. due process under the law as protected by the

Fourteenth Amendment to the U.S. Constitution.

147.    Defendant Helaire-Jones's improper sexual abuse and assault with J.R. unlawfully denied

J.R. due process of law in a manner that shocks the conscience.

148.    At all times relevant herein, Defendant Helaire-Jones acted under color of law.

149.    As a direct and proximate result of the foregoing conduct of Defendant Helaire­ Jones,

Plaintiff J.R. suffered harm.

        WHEREFORE, Plaintiff respectfully requests:

          a.        Compensatory and punitive damages in an amount to be determined at trial;

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         b.      An award of reasonable attorneys' fees, costs, and litigation expenses; and

         c.      Such other relief as the Court may deem just or equitable.

                                          COUNT V
                                        NEGLIGENCE
                               LEGAL PREP CHARTER ACADEMIES

150.    Plaintiff re-alleges and incorporates the allegations contained in paragraphs 1-95 herein.

151.    Legal Prep Charter Academies provides education to students in the City of Chicago.

152.    Legal Prep Charter Academies’ mission is:

        Legal Prep Charter Academy is a completely free, open-enrollment public high school that was
        founded in 2012 in the West Garfield Park neighborhood of Chicago. Legal Prep uses its unique
        law themed curriculum and culture of high expectations to cultivate compassion, self-motivation,
        and reflection in young adults who will be prepared to succeed at outstanding four-year colleges
        and universities.

153.    Sexual misconduct and abuse in school interferes with a students’ ability to succeed at school and

creates an inappropriate environment to learn.

154.    Defendant Legal Prep Charter Academies, by and through their agents and/or employees, knew or

should have known that Defendant Helaire-Jones was grooming Plaintiff J.R. through his influence as

dean/disciplinarian and basketball coach in order to commit sexual conduct upon her.

155.    Defendant Legal Prep Charter Academies, by and through its staff, agents and/or employees, had a

duty to provide and appropriate learning environment for its students, and:

          a.      To prevent its Staff from sexual abusing its students

          b.      To report grooming and sexual contact between Defendant Helaire-Jones with Plaintiff
                  J.R. and/or other students to appropriate law enforcement or DCFS as required by state
                  law;

          c.     To supervise or monitor Defendant Helaire-Jones in order prevent the improper
                 grooming and sexual conduct with Plaintiff J.R. and/or other students;

          d.     To not hired or retained Defendant Helaire-Jones where it knew or should have known of
                 his criminal history and grooming of J.R. and/or other students;

          e.     To reasonably direct, instruct, supervise, monitor, and train its agents, servants, and/or
                 employees to ensure timely and proper reporting of grooming and sexual abuse,
                 including grooming and abuse of Plaintiff J.R. and/or other students; and

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          f.         To adequately conduct background checks on Defendant Helaire-Jones.

156.    Defendant Legal Prep Charter Academies, by and through its agents and/or employees, breached

its duty and was negligent in the following ways:

               a. Failed to provide an appropriate learning environment for its students.

               b. Failed to prevent its Staff from sexual abusing its students.

               c. Failed to report grooming and sexual contact between Defendant Helaire-Jones with
                  Plaintiff J.R. and/or other students to appropriate law enforcement or DCFS as required by
                  state law with utter indifference to or in conscious disregard for the safety of others;

               d. Failed to monitor Defendant Helaire-Jones in order prevent the improper grooming and
                  sexual conduct with Plaintiff J.R. and/or other students with utter indifference to or in
                  conscious disregard for the safety of others;

               e. Improperly retained Defendant Helaire-Jones where it knew or should have known of his
                  criminal history and grooming of J.R. and/or other students with utter indifference to or in
                  conscious disregard for the safety of others;

               f.   Failed to reasonably direct, instruct, supervise, monitor, and train its agents, servants,
                    and/or employees to ensure timely and proper reporting of sexual abuse, including abuse
                    of Plaintiff J.R. and/or other students with utter indifference to or in conscious disregard
                    for the safety of others; and

               g. Failed to adequately conduct background checks on Defendant Helaire-Jones with utter
                  indifference to or in conscious disregard for the safety of others.


157.    As a direct and proximate result of one or more of the aforesaid negligent acts and/or omissions,

Defendant Legal Prep Charter Academies breached its duty and caused harm to Plaintiff J.R.

       WHEREFORE, Plaintiff respectfully requests:

         a.          Compensatory damages in an amount to be determined at trial;

         b.          An award of reasonable costs and litigation expenses; and

         c.          Such other relief as the Court may deem just or equitable.

                                     COUNT VI
                           WILLFUL AND WANTON CONDUCT
                BOARD OF EDUCATION OF THE CITY OF CHICAGO ("BOARD")
                        AND LEGAL PREP CHARTER ACADEMIES

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158.    Plaintiff re-alleges and incorporates the allegations contained in paragraphs 1-95 herein.

159.    This Count VI is brought pursuant to 745 ILCS 10/3-108(a) where Defendants’ conduct was

willful and wanton, which provides:

                (a) Except as otherwise provided in this Act, neither a local public entity nor a public
                employee who undertakes to supervise an activity on or the use of any public property is
                liable for an injury unless the local public entity or public employee is guilty of willful
                and wanton conduct in its supervision proximately causing such injury.

160.    This Count VI is also brought pursuant to 745 ILCS 10/3-108(b) where Defendants’ conduct was

willful and wanton, which provides:


                (b) Except as otherwise provided in this Act, neither a local public entity nor a public
                employee is liable for an injury caused by a failure to supervise an activity on or the use of
                any public property unless the employee or the local public entity has a duty to
                provide supervision imposed by common law, statute, ordinance, code or regulation
                and the local public entity or public employee is guilty of willful and wanton conduct
                in its failure to provide supervision proximately causing such injury.

161.    The Chicago Board of Education, founded in 1840, is responsible for the governance,

organizational and financial oversight of Chicago Public Schools (CPS) and charter schools including

Legal Prep Charter Academy, the third largest school district in the United States of America, who’s

mission statement is as follows:

        To set goals and standards and make policies that make a high quality public education system
        available to the children of Chicago. To oversee the operations of the Chicago Public Schools,
        guarantee their accountability to the goals and objectives set by the Board and ensure that its
        accomplishments meet the expectations of the citizens of Chicago.

162.    The Chicago Board of Education establishes policies, standards, goals and initiatives to ensure

accountability and provide a high quality, world-class education for the 21st century that prepares students

for success in college, work and life.

163.    Defendants provides education to students in the City of Chicago, through it staff.

164.    Defendants supervise the Staff at Legal Prep, through training its Staff and implementing policies.

165.    Legal Prep Charter Academies’ mission is:

        Legal Prep Charter Academy is a completely free, open-enrollment public high school that was

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        founded in 2012 in the West Garfield Park neighborhood of Chicago. Legal Prep uses its unique
        law themed curriculum and culture of high expectations to cultivate compassion, self-motivation,
        and reflection in young adults who will be prepared to succeed at outstanding four-year colleges
        and universities.

166.    Sexual misconduct and abuse in school interferes with a students’ ability to succeed at school, and

creates an inappropriate environment to learn.

167.    Defendants Board of Education and Legal Prep Charter Academies, by and through their staff,

agents and/or employees, knew or should have known that Defendant Helaire-Jones was grooming

Plaintiff J.R. through his influence as dean/disciplinarian and basketball coach in order to commit sexual

conduct upon her.

168.    Defendants had a duty to provide and appropriate learning environment for its students by

appropriately supervising its Staff:

          a.        To prevent its Staff from sexual abusing its students.

          b.        To report grooming and sexual contact between Defendant Helaire-Jones with Plaintiff
                    J.R. and/or other students to appropriate law enforcement or DCFS as required by state
                    law;

          c.        To supervise or monitor Defendant Helaire-Jones in order prevent the improper
                    grooming and sexual conduct with Plaintiff J.R. and/or other students;

          d.        To not hired or retained Defendant Helaire-Jones where it knew or should have known of
                    his criminal history and grooming of J.R. and/or other students;

          e.        To reasonably direct, instruct, supervise, monitor, and train its agents, servants, and/or
                    employees to ensure timely and proper reporting of grooming and sexual abuse,
                    including grooming and abuse of Plaintiff J.R. and/or other students; and

          f.        To adequately conduct background checks on Defendant Helaire-Jones.

169.    Defendants Board and Legal Prep Charter Academies were willful and wanton in the supervising

of its Staff, when Defendants:

               a. Failed to provide and appropriate learning environment for its students.

               b. Failed to prevent its Staff from sexual abusing its students

               c. Failed to report grooming and sexual contact between Defendant Helaire-Jones with
                  Plaintiff J.R. and/or other students to appropriate law enforcement or DCFS as required by

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                      state law with utter indifference to or in conscious disregard for the safety of others;

                 d. Failed to monitor Defendant Helaire-Jones in order prevent the improper grooming and
                    sexual conduct with Plaintiff J.R. and/or other students with utter indifference to or in
                    conscious disregard for the safety of others;

                 e. Improperly retained Defendant Helaire-Jones where it knew or should have known of his
                    criminal history and grooming of J.R. and/or other students with utter indifference to or
                    in conscious disregard for the safety of others;

                 f.   Failed to reasonably direct, instruct, supervise, monitor, and train its agents, servants,
                      and/or employees to ensure timely and proper reporting of sexual abuse, including abuse
                      of Plaintiff J.R. and/or other students with utter indifference to or in conscious disregard
                      for the safety of others; and

                 g. Failed to adequately conduct background checks on Defendant Helaire-Jones with utter
                    indifference to or in conscious disregard for the safety of others.

170.    Defendants Board's and Legal Prep Charter Academies' conduct was with reckless indifference or

conscious disregard to the safety of J.R. and/or other students with utter indifference to or in conscious

disregard for the safety of others.

171.    As a direct and proximate result of one or more of the aforesaid willful and wanton acts and/or

omissions, Defendants Board and Legal Prep Charter Academies caused harm to Plaintiff J.R. and/or other

students.

        WHEREFORE, Plaintiff respectfully requests:

            a.         Compensatory damages in an amount to be determined at trial;

            b.         An award of reasonable costs and litigation expenses; and

            c.         Such other relief as the Court may deem just or equitable.


                                     COUNT VII – ASSAULT AND BATTERY
                                        JAMEL M. HELAIRE-JONES

172.    Plaintiff incorporates paragraphs 1-95, as though fully stated herein.

173.    Defendant Helaire-Jones intentionally committed multiple voluntary and affirmative acts that

resulted in the harmful or offensive touching to Plaintiff's body.

174.    Jamel H. Helaire-Jones’ physical contact was taken place without Plaintiff's consent.
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175.    Jamel H. Helaire-Jones’ intentionally and unlawfully attempted to inflict corporal injury to

Plaintiff by force, or unlawful directed force, under circumstances that create a well-founded fear of

imminent peril coupled with the apparent present ability to do so, if not prevented.

176.    Plaintiff was in reasonable fear of injury.

177.    As a direct and proximate result of Defendant’s conduct, Plaintiff suffered injuries, including but

not limited to severe emotional and psychological injuries.

        WHEREFORE, Plaintiff respectfully requests:

         a.      Compensatory damages in an amount to be determined at trial;

         b.      An award of reasonable costs and litigation expenses; and

         c.      Such other relief as the Court may deem just or equitable.

              COUNT VIII – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                JAMEL M. HELAIRE-JONES

178.    Plaintiff incorporates paragraphs 1-95, as though fully stated herein.

179.    Defendant’s conduct in the repeated rape and sexual assault of Plaintiff was so extreme and

outrageous as to go beyond all possible bounds of decency.

180.    From August 2018 through November 2018, Plaintiff was repeatedly sexually assaulted and

experienced severe fright, horror, grief, shame, humiliation, and worry.

181.    No reasonable person, especially a minor, could have endured the Defendant’s conduct.

182.    As a direct and proximate result of Defendant’s conduct, Plaintiff suffered injuries, including but

not limited to severe emotional and psychological injuries.

        WHEREFORE, Plaintiff respectfully requests:

         a.      Compensatory damages in an amount to be determined at trial;

         b.      An award of reasonable costs and litigation expenses; and

         c.      Such other relief as the Court may deem just or equitable.

                         COUNT IX – FRAUDULENT CONCEALMENT
                      BOARD OF EDUCATION OF THE CITY OF CHICAGO
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183.    Plaintiff incorporates paragraphs 1-95, as though fully stated herein.

184.    Defendant Board of Education of the City of Chicago owed a fiduciary or confidential relationship

toward the Minor Plaintiff J.R..

185.    Defendant having knowledge of the Jamel H. Helaire-Jones’ sexual misconduct, created a special

relationship between the parties and consequently bestowed upon Plaintiff the right to be protected.

186.    Defendant, by and through its agents, willfully and wantoningly and/or with reckless disregard

fraudulently concealed Plaintiff’s cause of action, as follows:

                a. Knowingly and actively suppressed the truth with the intent to prevent inquiry or

                     knowledge of the injury.

                b. Knowingly failing to disclose when Defendant had a duty to speak with the intent to

                     prevent inquiry or knowledge of the injury.

                c. Conveyed to the Plaintiff a knowing or intentional, material misrepresentation upon

                     which the Plaintiff reasonably, and without knowledge, acted or relied.

187.    As a direct and proximate result of Defendant’s fraudulent concealment, J.R. suffered injuries,

including but not limited to severe emotional and psychological injuries.

        WHEREFORE, Plaintiff respectfully requests:

         a.      Compensatory damages in an amount to be determined at trial;

         b.      An award of reasonable costs and litigation expenses; and

         c.      Such other relief as the Court may deem just or equitable.

                            COUNT X – FRAUDULENT CONCEALMENT
                              LEGAL PREP CHARTER ACADEMIES

188.    Plaintiff incorporates paragraphs 1-95, as though fully stated herein.

189.    Defendant Legal Prep owed a fiduciary or confidential relationship toward the Minor Plaintiff J.R..

190.    Defendant having knowledge of the Jamel H. Helaire-Jones’ sexual misconduct, created a special

relationship between the parties and consequently bestowed upon Plaintiff the right to be protected.

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191.    Defendant, by and through its agents, willfully and wantoningly and/or with reckless disregard

fraudulently concealed Plaintiff’s cause of action, as follows:

                a. Knowingly and actively suppressed the truth with the intent to prevent inquiry or

                     knowledge of the injury.

                b. Knowingly failing to disclose when Defendant had a duty to speak with the intent to

                     prevent inquiry or knowledge of the injury.

                c. Conveyed to the Plaintiff a knowing or intentional, material misrepresentation upon

                     which the Plaintiff reasonably, and without knowledge, acted or relied.

192.    As a direct and proximate result of Defendant’s fraudulent concealment, J.R. suffered injuries,

including but not limited to severe emotional and psychological injuries.

        WHEREFORE, Plaintiff respectfully requests:

         a.      Compensatory damages in an amount to be determined at trial;

         b.      An award of reasonable costs and litigation expenses; and

         c.      Such other relief as the Court may deem just or equitable.

                         COUNT XI – ILLINOIS GENDER VIOLENCE ACT
                                 JAMEL M. HELAIRE-JONES

193.    Plaintiff incorporates paragraphs 1-95, as though fully stated herein.

194.    This allegation is made pursuant to the Gender Violence Act, 740 ILCS 82, et seq.

195.    As described more fully above, the conduct of the Defendant toward J.R., a female, constituted a

physical intrusion of a sexual nature under coercive conditions. The Defendant's actions constituted

unjustified and offensive physical contact. Defendant’s conduct proximately caused the Plaintiff injuries.

196.    The misconduct described in this Count was undertaken with malice, was willful and wanton, was

recklessly indifferent to the rights of others, and was objectively unreasonable

197.    The misconduct described in this Count was undertaken by the Defendant Jamel M. Helaire-Jones

within the scope of his employment and under color of law such that his employer, Board of Education of


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the City of Chicago and/or Legal Prep Charter Academies, is liable for his actions.

198.     As a direct and proximate result of Defendant’s actions, J.R., a female, suffered injuries, including

but not limited to severe emotional and psychological injuries.

        WHEREFORE, Plaintiff respectfully requests:

          a.      Compensatory damages in an amount to be determined at trial;

          b.      An award of reasonable costs and litigation expenses; and

          c.      Such other relief as the Court may deem just or equitable.

                         COUNT XII – ILLINOIS GENDER VIOLENCE ACT
                         BOARD OF EDUCATION OF CITY OF CHICAGO

199.     Plaintiff incorporates paragraphs 1-95, as though fully stated herein.

200.     This allegation is made pursuant to the Gender Violence Act, 740 ILCS 82, et seq.

201.     Defendant Jamel M. Helaire-Jones, at all times pertinent hereto, was an employee and/or agent of

Defendants Board of Education of the City of Chicago and/or Legal Prep Charter Academies., to be the

dean/disciplinarian and girls’ basketball coach at Legal Prep Charter Academy, where J.R., a female, was

a student. .

202.     At all times relevant herein, Defendant, knew and/or should have known of Jamel M. Helaire-

Jones’ abusive behavior in violation of the contractual duties under the contract, and/or history of violence

and/or excessive force and discriminatory conduct.

203.     As described more fully above, the conduct of the Defendant toward J.R., a female, constituted a

physical intrusion of a sexual nature under coercive conditions. The Defendant's actions constituted

unjustified and offensive physical contact. Defendant’s conduct proximately caused the Plaintiff injuries.

204.     The misconduct described in this Count was undertaken with malice, was willful and wanton, was

recklessly indifferent to the rights of others, and was objectively unreasonable.

205.     The misconduct described in this Count was undertaken by the Defendant Jamel M. Helaire-Jones

within the scope of his employment and under color of law such that his employer, Board of Education of


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the City of Chicago and/or Legal Prep Charter Academies, is liable for his actions.

206.     As a direct and proximate result of Defendant’s actions, J.R., a female, suffered injuries, including

but not limited to severe emotional and psychological injuries.

        WHEREFORE, Plaintiff respectfully requests:

          a.      Compensatory damages in an amount to be determined at trial;

          b.      An award of reasonable costs and litigation expenses; and

          c.      Such other relief as the Court may deem just or equitable.

                         COUNT XIII – ILLINOIS GENDER VIOLENCE ACT
                             LEGAL PREP CHARTER ACADEMIES

207.     Plaintiff incorporates paragraphs 1-95, as though fully stated herein.

208.     This allegation is made pursuant to the Gender Violence Act, 740 ILCS 82, et seq.

209.     Defendant Jamel M. Helaire-Jones, at all times pertinent hereto, was an employee and/or agent of

Defendants Board of Education of the City of Chicago and/or Legal Prep Charter Academies., to be the

dean/disciplinarian and girls’ basketball coach at Legal Prep Charter Academy, where J.R., a female, was

a student. .

210.     At all times relevant herein, Defendant, knew and/or should have known of Jamel M. Helaire-

Jones’ abusive behavior in violation of the contractual duties under the contract, and/or history of violence

and/or excessive force and discriminatory conduct.

211.     As described more fully above, the conduct of the Defendant toward J.R., a female, constituted a

physical intrusion of a sexual nature under coercive conditions. The Defendant's actions constituted

unjustified and offensive physical contact. Defendant’s conduct proximately caused the Plaintiff injuries.

212.     The misconduct described in this Count was undertaken with malice, was willful and wanton, was

recklessly indifferent to the rights of others, and was objectively unreasonable

213.     The misconduct described in this Count was undertaken by the Defendant Jamel M. Helaire-Jones

within the scope of his employment and under color of law such that his employer, Board of Education of


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the City of Chicago and/or Legal Prep Charter Academies, is liable for his actions.

214.     As a direct and proximate result of Defendant’s actions, J.R., a female, suffered injuries, including

but not limited to severe emotional and psychological injuries.

        WHEREFORE, Plaintiff respectfully requests:

          a.      Compensatory damages in an amount to be determined at trial;

          b.      An award of reasonable costs and litigation expenses; and

          c.      Such other relief as the Court may deem just or equitable.

                   COUNT XIV – ILLINOIS HATE CRIME ACT, 720 ILCS 5/12-7.1
                     BOARD OF EDUCATION OF THE CITY OF CHICAGO

215.     That the Plaintiff restates and alleges the allegations contained with paragraphs 1-95 of this

Complaint as set forth above and fully set forth herein. Plaintiff further states as follows:

216.     Defendant Jamel M. Helaire-Jones, at all times pertinent hereto, was an employee and/or agent of

Defendants Board of Education of the City of Chicago and/or Legal Prep Charter Academies., to be the

dean/disciplinarian and girls’ basketball coach at Legal Prep Charter Academy, where J.R., a female, was

a student. .

217.     At all times relevant herein, Defendant, knew and/or should have known of Jamel M. Helaire-

Jones’ abusive behavior in violation of the contractual duties under the contract, and/or history of violence

and/or excessive force and discriminatory conduct.

218.     Defendant Jamel M. Helaire-Jones committed an act of violence by assaulting and battering J.R.,

because of J.R. gender, as defined and in violation of Illinois Hate Crime Act, 720 ILCS 5/12.71.

219.     As a direct and proximate result of the assault and battery by the Defendant, by its agents and

employees working in the scope of their employment, Plaintiff incurred severe and permanent injuries

including but not limited to physical injuries, emotional injury, loss of family and social experience, and

embarrassment.

220.     Plaintiff is entitled to attorney fees, costs and punitive damages pursuant to 720 ILCS 5/12-7.1.

        WHEREFORE, Plaintiff respectfully requests:
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          a.      Compensatory damages in an amount to be determined at trial;

          b.      An award of reasonable costs and litigation expenses; and

          c.      Such other relief as the Court may deem just or equitable.


                   COUNT XV – ILLINOIS HATE CRIME ACT, 720 ILCS 5/12-7.1
                           LEGAL PREP CHARTER ACADEMIES

221.     That the Plaintiff restates and alleges the allegations contained with paragraphs 1-95 of this

Complaint as set forth above and fully set forth herein. Plaintiff further states as follows:

222.     Defendant Jamel M. Helaire-Jones, at all times pertinent hereto, was an employee and/or agent of

Defendants Board of Education of the City of Chicago and/or Legal Prep Charter Academies., to be the

dean/disciplinarian and girls’ basketball coach at Legal Prep Charter Academy, where J.R., a female, was

a student. .

223.     At all times relevant herein, Defendant, knew and/or should have known of Jamel M. Helaire-

Jones’ abusive behavior in violation of the contractual duties under the contract, and/or history of violence

and/or excessive force and discriminatory conduct.

224.     Defendant Jamel M. Helaire-Jones committed an act of violence by assaulting and battering J.R.,

because of J.R. gender, as defined and in violation of Illinois Hate Crime Act, 720 ILCS 5/12.71.

225.     As a direct and proximate result of the assault and battery by the Defendant, by its agents and

employees working in the scope of their employment, Plaintiff incurred severe and permanent injuries

including but not limited to physical injuries, emotional injury, loss of family and social experience, and

embarrassment.

226.     Plaintiff is entitled to attorney fees, costs and punitive damages pursuant to 720 ILCS 5/12-7.1.

        WHEREFORE, Plaintiff respectfully requests:

          a.      Compensatory damages in an amount to be determined at trial;

          b.      An award of reasonable costs and litigation expenses; and


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          c.      Such other relief as the Court may deem just or equitable.


                   COUNT XVI – ILLINOIS HATE CRIME ACT, 720 ILCS 5/12-7.1
                                 JAMEL M. HELAIRE JONES

227.     That the Plaintiff restates and alleges the allegations contained with paragraphs 1-95 of this

Complaint as set forth above and fully set forth herein. Plaintiff further states as follows:

228.     Defendant Jamel M. Helaire-Jones, at all times pertinent hereto, was an employee and/or agent of

Defendants Board of Education of the City of Chicago and/or Legal Prep Charter Academies., to be the

dean/disciplinarian and girls’ basketball coach at Legal Prep Charter Academy, where J.R., a female, was

a student. .

229.     Defendant Jamel M. Helaire-Jones committed an act of violence by assaulting and battering J.R.,

because of J.R. gender, as defined and in violation of Illinois Hate Crime Act, 720 ILCS 5/12.71.

230.     As a direct and proximate result of the assault and battery by the Defendant, by its agents and

employees working in the scope of their employment, Plaintiff incurred severe and permanent injuries

including but not limited to physical injuries, emotional injury, loss of family and social experience, and

embarrassment.

231.     Plaintiff is entitled to attorney fees, costs and punitive damages pursuant to 720 ILCS 5/12-7.1.

        WHEREFORE, Plaintiff respectfully requests:

          a.      Compensatory damages in an amount to be determined at trial;

          b.      An award of reasonable costs and litigation expenses; and

          c.      Such other relief as the Court may deem just or equitable.


                                           JURY DEMAND

          Plaintiff respectfully demands a trial by jury.

                                                            Respectfully submitted,


                                                            DINIZULU LAW GROUP, LTD.

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                                                     _s/Yao O. Dinizulu______________
                                                     One of the Attorneys for the Plaintiff

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                                CERTIFICATE OF SERVICE

   I, Yao O. Dinizulu, hereby certify that on the 9th day of April 2021, the foregoing was sent via
   U.S. Mail to:

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                                                     Respectfully Submitted,

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                                             By:     _/s/Yao O. Dinizulu_(6242794)____
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